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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


                                                       )
JOHN DOE,                                              )
                                                       )
                         Plaintiff,                    )
                                                       )
                 v.                                    )        Civil Action No. 15-10790-DJC
                                                       )
TRUSTEES OF BOSTON COLLEGE,                            )
                                                       )
                         Defendant.                    )
                                                       )

                          STIPULATION AND PROTECTIVE ORDER

          Pursuant to Federal Rule of Civil Procedure 26(c), plaintiff John Doe and defendant

Trustees of Boston College stipulate as follows:

          1. This Protective Order shall govern the records of Michael W. Bain, M.D. pertaining to

John Doe, bearing Bates numbers P000914-P001057 and marked “Confidential – Subject to

Protective Order,” and any copies made thereof (“Confidential Documents”). The Confidential

Documents each contain information of a highly personal, sensitive, confidential, and/or protected

nature.

          2. The Confidential Documents shall be used only for the prosecution or defense of the

above-captioned action, and any appeal therefrom, and not for any other purpose.

          3. Except with prior written consent of plaintiffs or upon further order of this Court, the

Confidential Documents shall be shown, or the contents thereof disclosed, only to the following

persons (herein referred to as "Qualified Persons") by the parties or by their representatives: (a)

the parties' counsel of record in this action; (b) employees of such counsel assigned to and

necessary to assist such counsel in the preparation or the trial of this action; (c) independent experts
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and consultants retained by the parties whose assistance is necessary for the preparation or trial of

this specific action; (d) and the Court.

       4.    Each Qualified Person, as described in (a) through (c) above to whom the parties or

their representatives intend to deliver, exhibit, or disclose any such Confidential Document or

material contained therein shall be given a copy of this Protective Order and advised of its terms.

       5. The Court Reporter, if provided Confidential Documents for safekeeping, shall

maintain a list of all persons to whom such reporter provides any such document or material

contained therein, and that list shall be available for inspection by counsel for the parties and by

the Court.

       6. All Confidential Documents provided to any Qualified Person as provided herein shall

be returned to the parties' counsel of record as soon as such Qualified Person no longer has any

need to reference the Confidential Documents in connection with this litigation.

       7. Should either party use a Confidential Document in connection with any filing, they

shall file the Confidential Document in accordance with Local Rule 7.2.

       8. To the extent that such Confidential Documents or information contained therein is

used in the taking of depositions, the transcript pages of the deposition testimony dealing with the

protected Confidential Documents or information shall be subject to the provisions of this

Protective Order.

       9. Promptly after the conclusion of this action, including any appeal, all Confidential

Documents, including all copies and excerpts thereof, shall be returned to counsel for plaintiffs.

       10. After termination of this litigation, including any appeal, the provisions of this

Protective Order shall continue to be binding. The parties hereto and persons agreeing to be bound

by this Protective Order agree that this Court retains jurisdiction over the parties and recipients of




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the Confidential Documents for purposes of any necessary enforcement of the provisions of this

Protective Order following termination of this action, including any appeal.


 Trustees of Boston College                     John Doe

 By its attorneys,                              By his attorneys,

                                                DLA PIPER LLP (US)
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   SO ORDERED this _____ day of December, 2018.




                                             Denise J. Casper
                                             United States District Judge




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of December, 2018, a copy of the foregoing was served

by electronic mail using the CM/ECF system, which will then send notification of such filing of

all counsel of record..



                                             /s/Charles B. Wayne
                                             Charles B. Wayne
